              Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 1 of 36 Page ID #:1


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                6               jessica.do@nnkb.com
                 7   Attorneys for Defendant
                     SAFECO INSURANCE COMPANY OF
                 8   AMERICA (erroneously sued as Safeco
                     Insurance Company)
                9

c              10                             UNITED STATES DISTRICT COURT
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CO
               11                            CENTRAL DISTRICT OF CALIFORNIA
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c     o         12
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O ° -s               SHAHNAZNIKNAM,                                      CASE NO.
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•-     c<                               Plaintiff,                       (Former Los Angeles Superior Court
          S     14
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___ 14—
                                                                         Case No. 19SMCV00764}
I"                            V.
                15                                                       NOTICE OF REMOVAL OF
                     SAFECO INSURANCE COMPANY,                           CIVIL ACTION TO THE
OJ              16   and Does 1 tlirough 25, inclusive.                  DISTRICT COURT PURSUANT
a                                                                        TO 28 U.S.C. §1^1332,1441(b) and
o               17
(V                                      Defendants.                      1446 IDIVERSlTY
                                                                         JURISDICTION];
                18
                                                                         DEMAND FOR JURY TRIAL
                19                                                       PURSUANT TO FEDERAL
                                                                         RULES OF CIVIL PROCEDURE
               20                                                        RULE 38(a)
               21

               22

                23            TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
                24   ALL PARTIES HEREIN:
                25            PLEASE TAKE NOTICE that Defendant SAFECO INSURANCE
                26   COMPANY OF AMERICA (“Defendant” or “Safeco”) (erroneously sued as
                27   Safeco Insurance Company) hereby removes to this Court the State Court action
                28   described below:
                     4823-7631-4520.1                            _ 1 -

                                        NOTICE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
               Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 2 of 36 Page ID #:2

                  1             1.       Defendant Safeco Insurance Company of America is a named
                  2   defendant in a civil action commenced on April 22, 2019, in the Superior Court of
                  3   the State of California, for the County of Los Angeles, Case No. 19SMCV00764,
                  4   entitled Shahnaz Niknam v. Safeco Insurance Company. True and correct copies of
                  5   the Summons and Complaint, and Notice of Case Assigmnent are attached hereto
                  6   as Exhibit “A”.
                  7            2.        The Summons and Complaint of Plaintiff Shalmaz Niknam
                  8   (“Plaintiff’) were served on Corporation Service Company (“CSC”), Safeco’s
>,                9   designated agent for service of process in California, on May 7, 2019. Safeco
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c                10   received copies of the Summons and Complaint on or about May 8, 2019, when
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                 11   CSC forwarded copies of the Summons and Complaint, and Notice of Case
c      o         12   Assignment to Safeco.
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                 13            3.        A responsive pleading has not yet been filed.
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<U a3            14            4.        The documents set forth in Exhibit “A” constitute all the process,
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   <             15   pleading, and supporting materials received by Defendant.
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(U               16            5.        A civil action brought in state court of which the federal court has
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O                17   original jurisdiction may be removed to the district court for the district embracing
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                 18   the place where such action is pending. 28 U.S.C. § 1441(a). Federal courts have
                 19   jurisdiction over controversies before “citizens of different states” pursuant to 28
                20    U.S.C. Section 1332 (a)(1) and Article III, Section 2, of the U.S. Constitution.
                21    Navarro Sav. Ass’n. v. Lee, 446 U.S. 458, 460-61 (1980). Diversity jurisdiction
                22    exists when the amount in controversy exceeds $75,000, exclusive of interest and
                23    costs, and the parties are citizens of different states. 28 U.S.C. § 1332(a).
                24    “Diversity jurisdiction, including the amount in controversy, is detennined at the
                25    instant of removal.” Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199
                26    F. Supp. 2d 993,1000 (C.D. Cal. 2002).
                27             6.        “This calculation takes into account claims for ‘general’ damages and
                28    ‘special’ damages (pain and suffering, as well as out-of-pocket loss).” Richmond v.
                      4823-7631-4520.1                               -2-
                                            NOTICE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
                Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 3 of 36 Page ID #:3


                   1   Allstate Ins. Co., 897 F. Supp. 447, 449-50 (S.D. Cal. 1995). The removing party
                   2   “need not predict the trier of fact’s eventual award with one hundred percent
                   3   accuracy.” Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004).
                   4   Instead, in measuring the amount in controversy, the Court must “assume that the
                   5   allegations of the complaint are true and assume that a jury [will] retum[] a verdict
                   6   for the plaintiff on all claims made in the complaint.” Jackson v. American Bankers
                   7   Ins. Co. ofFlorida, 976 F. Supp. 1450, 1454 (S.D. Ala. 1991)-, see Kenneth
                   8   Rothschild Trust, 199 F. Supp. 2d at 1001; see also Burns v. Windsor Ins. Co., 31
                   9   F.3d 1092,1096 (11th Cn. 1994) (observing the amount in controversy analysis
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c                 10   presumes that “plaintiff prevails on liability”).
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      c           11            7.        The detennination of citizenship for diversity purposes is governed by
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c o               12   federal rather than state law. Rockwell Int’l Credit Corp. v. Unites States Aircraft
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                  13   Ins. Group, 823 F.2d 302, 304 (9tli Cir. 1987), overruled on other grounds,
•^5 o iij
(U ju 5           14   Partington v. Gedan, 923 F.2d 686 (9th Cir. 1991). In detennining whether
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   <              15   diversity of citizenship exists, only the named defendants are considered.
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                  16   Newcombe v. Adolf Coors Co., 157 F3d 686, 690-91 (9th Cir. 1998). The
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tvo              17    citizenship of defendants sued under fictitious names, such as “Doe” defendants, is
                  18   disregarded for diversity jurisdiction purposes. 28 U.S.C. § 1441(a); Solimcm v.
                  19   Philip Morris, Inc. 311 F.3d 966, 971 (9th Cir. 2002). For diversity purposes, “a
                 20    corporation shall be deemed a citizen of any State by which it has been
                 21    incorporated and of the State where it has its principal place of business.” 28 USC
                 22    § 1332(c)(1).
                 23             8.        “In detennining whether removal is proper, a court may consider any
                 24    evidence so long as it reveals the situation that existed when the case was
                 25    removed.” Corbelle v. Sanyo Elec. Trading Co., Ltd., 2003 U.S. Dist. LEXIS
                 26    20339 (N.D. Cal. Nov. 4, 2003). For that reason, the Court’s inquiry into the
                 27    citizenship of the parties and the amount in controversy is not confined to the face
                 28    of the complaint. Valdez, 372F.3datlll7. In addition to the complaint, the
                       4823-7631-4520.1                               -3-
                                             NOTICE OF REMOVAL OF CIVHL ACTION TO THE DISTRICT COURT
            Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 4 of 36 Page ID #:4


               1   district court may properly consider “facts in the removal petition” as well as
              2    “summary-judgment-type evidence relevant to the amount in controversy at the
              3    time of removal.” Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 'ill (9th
              4    Cir. 1997); see White v. FCl USA, Inc., 319 F.3d 672, 675 (5th Cir. 2003); Williams
              5    V.   Best Buy Co., 269 V.id 1316,1319 (11th Cir. 2001).
              6             9.        This is a civil action over which this Court has original jurisdiction
                   under 28 U.S.C. Section 1332. This action may be removed to this Court by
                   Defendant, pursuant to the provisions of 28 U.S.C. Sections 1441(b) and 1446
                   because the amount in controversy exceeds $75,000 and there is complete diversity
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 c           10    of citizenship between Plaintiff and Defendant.
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cn           11
      c                     10.       There is complete diversity of citizenship between the real parties in
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             12    interest in this case. Plaintiff and Defendant because:
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             13                       a.      The citizenship of the fictitious DOE defendants 1 tlirough 25
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_ . W “J     14    are disregarded pursuant to 28 U.S.C. § 1441(b)(1). 28 USC §1441(a); Soliman,
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      <      15    311 F.3dat971. Named defendants have no obligation to disclose the identity of

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             16    Doe defendants before discovery {Newcombe, 157 F3d at 690-691), or to negate the
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O            17    existence of a potential defendant whose presence would destroy diversity {see
[V


             18    Lincoln Prop. Co. v. Roche, 546 U.S. 81, 84 (2005)). Therefore, inclusion of
             19    “Doe” defendants in the Complaint has no effect on removability. Newcombe, 157
             20    F.3d at 690-91.
             21                       b.      Defendant SAFECO INSURANCE COMPANY OF AMERICA
             22    has been, and still is, a citizen of the State of New Hampshire, having been
             23    incorporated under the laws of the State of New Hampshire, and continues to have
             24    its principal place of business in Boston, Massachusetts. Declaration of Jessica B.
             25    Do (“DoDecl.”),t2,Exli. 1.
             26                       c.      Defendant SAFECO INSURANCE COMPANY OF AMERICA
             27    is licensed to do business in California and in a majority of the other forty nine (49)
             28    states. However, Defendant SAFECO INSURANCE COMPANY OF AMERICA
                   4823-7631-4520.1                                -4-
                                           NOnCE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
             Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 5 of 36 Page ID #:5


                   is not a “commercially domiciled insurer” within California, as that term is defined
               2   in Section 1215.13 of the California Insurance Code. Do Decl., Tf 3.
               3                      d.     Generally, a corporation may have dual citizenship: “(A)
               4   corporation shall be deemed to be a citizen of every State and foreign state by
               5   which it has been incorporated and of the State or foreign state where it has its
               6   principal place of business . . .” 28 USC § 1332(c)(1). The plirase “principal place
               7   of business” means the place where a corporation's high level officers direct,
               8   control and coordinate its activities on a day-to-day basis. This is often referred to
>,             9   as the corporation's “nerve center.” Hertz Corp. v. Friend, 559 US 77, 80-81, 92-93
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c             10   (2010) (rejecting all prior tests in favor of “nerve center” test).
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              11                      e.     On information and belief. Plaintiff SHAHNAZ NIKNAM is an
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    a
      O       12   individual that has been and continues to be a citizen of the State of California, and
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^ ^ 01        13   as stated in the Complaint, resides in Los Angeles County, California. Complaint,
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    <         15                      f      Generally, a party’s residence, here Los Angeles County in the
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              16   State of California, is “prima facie’^ evidence of citizenship unless the matter is
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 O            17   disputed. State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir.
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              18   1994); Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954).
              19                      g.     Plaintiff is a citizen of California, while Safeco is a citizen of
              20   New Hampshire and Massachusetts. As such, there is complete diversity of
              21   citizenship between the existing parties.
              22            11.       The matter in controversy exceeds the sum or value of $75,000. The
              23   Complaint directs the following causes of action against Safeco; (1) Violation of
              24   California Business and Professions Code 17200 for Violation of Section 484(h) of
              25   the California Penal Code; and (2) Violation of California Business and Professions
              26   Code 17200 based in fraud. See Complaint, p. 7:10-9:4.'
              27
                   ' The numbering of the paragraphs in the Complaint is not consistent. Accordingly, page and line
              28   numbers are used for references to the Complaint.
                   4823-7631-4520.1                                 . 5 .

                                           NOTICE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
             Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 6 of 36 Page ID #:6


                                  a.      Plaintiff further alleges that Exliibits A through C demonstrate a
               2    unauthorized charges on her credit card by Safeco. See Complaint, p.4;18-24, 5;1-
                3   4. These charges total $1,132.41. Id.
               4                  b.      In Prayer 1 of the Complaint, Plaintiff seeks “[rjeimbursement
                5   of the charges to the credit card from the time the [PJlaintiff did not have Safeco
                6   Insurance and had switched to Farmers.” Complaint, p. 9:6-7.
                7                 c.      In Prayer 2 of the Complaint, Plaintiff seeks “[gjeneral damages
                8   for mental anguish and emotional distress and other incidental damages in the sum
               9    of $50,000.00”. Complaint, p. 9:8-9.
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e             10                  d.      In Prayer 3 of the Complaint, Plaintiff seeks “[pjunitive and
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              11    exemplary damages in the amount the court deems appropriate”. Complaint, p.
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o       Dl    13            12.   Thus, as set forth above. Plaintiff seeks in her Complaint general and
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CU S          14    special damages for purported violations of the penal code, violations of
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   <          15    California’s Business and Professions Code, and fraud, including alleged emotional
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              16    distress damages, and punitive damages. Complaint, Prayer for Relief The
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O             17    substantive law of California applies to this diversity action. Aceves v. Allstate Ins.
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               18   Co., 68 F.3d 1160,1163 (9th Cir. 1995).
              19            16.   Courts will also consider evidence of jury verdicts in cases involving
              20    analogous facts when considering punitive damages for the amount in controversy.
              21    Simmons v. PCR Tech., 209 F.Supp.2d 1029, 1033 (N.D. Cal. 2002). Similar to the
              22    instant action, the following cases involve claims for fraud. These cases also
              23    provide examples where jury verdicts supported awards of punitive damages, which
              24    would be sufficient to meet the jurisdictional minimum in the case at hand:
              25                  a.      Tan v. Farmers Insurance Exchange, JVR No. 60996, 1990 WL
              26    460569 (Cal. Superior. 1990), involved the theft of the insured’s automobile and
              27    the insured’s subsequent denial of benefits. The jury found the insurer defendant
              28    liable for breach of contract, bad faith, malice, fraud and oppression; and awarded
                    4823-7631-4520.1                            6-
                                       NOTICE OF REMOVAL OF CISUL ACTION TO THE DISTRICT COURT
                 Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 7 of 36 Page ID #:7


                        $18,181 in economic damages, $50,000 in emotional damages, and $104,250 in
                    2   punitive damages.
                    3                      b.      Chodos   V.   Insurance Co. ofNorth America,126 Cal.App.3d 86
                    4   (Cal. App. 1981) involved an automobile accident and the insurer’s subsequent
                    5   denial of benefits. The jury found that the defendant insurer breached the duty of
                    6   good faith and fair dealing, and acted fraudulently. The court upheld the following
                    7   jury verdict: $146.71 in compensatory damages; $5,000 for emotional distress; and
                    8   $200,000 in punitive damages.
                    9                      c.      Patricia H. Stewart v. Cal-Farm Insurance Company, 38 Trials
QJ
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 C                 10   Digest 08223, 1984 WL 588673 (Cal. Superior. 1984) involved claims of fraud and
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                   11   intentional infliction of emotional distress, among others, against the plaintiffs
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                   12   insurance company in handling a claim. The jury awarded the plaintiff $15,000 in
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                   13   compensatory damages; $1,071.45 in policy benefits; and $125,000 in punitive
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(U S               14   damages.
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                   15                      d.      Similar to the above cases. Plaintiff s claim is for damage of an
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                   16   amount below the jurisdictional minimum; however, a jury verdict for punitive
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o                  17   damages just as in similar cases would be more than sufficient to meet the
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                   18   jurisdictional minimum in the case at hand.
                   19            18.       Based on Plaintiff s Complaint, Plaintiff seeks compensatory damages
                  20    in excess of $75,000. Plaintiff s Complaint claims general damages in the amount
                  21    of $50,000. In addition, based on the Complaint, Plaintiff seeks emotional distress
                  22    damages, as well as punitive damages. Taking into consideration Plaintiffs
                  23    damage claims for general and special damages, including emotional distress
                  24    damages and punitive damages, Plaintiff seeks damages in excess of $75,000, and
                  25    the amount in controversy requirement is met.
                   26            19.       Thus, this action may be removed to this Court by Defendant pursuant
                   27   to 28 U.S.C. §1441, subdivision (b), because the amount in controversy exceeds
                   28   $75,000, and there is complete diversity of citizenship between Plaintiff and Safeco
                        4823-7631-4520.1                                  -7-
                                                NOTICE OF REMOVAL OF CIVm ACTION TO THE DISTRICT COURT
           Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 8 of 36 Page ID #:8


              1   under 28 U.S.C. §1332 (a)(l)(c)(l).
              2            20.       This notice of removal is timely because it was filed within 30 days of
              3   the action becoming removable, and within one year after commencement of this
             4    action. 28 U.S.C. §1446(c){l).
              5            21. Rirsuant to 28 U.S.C. § 1446, subdivision (a). Defendant has attached
              6   “a copy of all process, pleadings, and orders served upon such defendant or
                  defendants” in this action hereto as Exliibit “A”.
                           18.       A true and correct copy of this Notice of Removal shall be
                  contemporaneously filed in the office of the clerk for the Superior Court of San
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c           10    Los Angeles.
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    I             Dated: June 6, 2019                              ROPERS, MAJESKI, KOHN &
 C S         12                                                    BENTLEY
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      it                                                              STEPHEN J. ERIGERO
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                                                                      SAFECO INSURANCE
CL
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             17
(X;                                                                   (erroneously sued as Safeco
                                                                      Insurance Company)
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                                        NOnCE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
                Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 9 of 36 Page ID #:9


                                                   DEMAND FOR JURY TRIAL
                  2             Defendant SAFECO INSURANCE COMPANY OF AMERICA
                  3    (erroneously sued as Safeco Insurance Company) hereby demands a trial by jury as
                  4    provided by Rule 38(a) of the Federal Rules of Civil Procedure.
                   5

                       Dated: June 6, 2019                           ROPERS, MAJESKI, KOHN &
                                                                     BENTLEY


                                                                     By ; Ay Jessica B. Do
                                                                         STEPHEN J. ERIGERO
4—'                                                                     E. LACEY RICE
c                 10                                                    JESSICA B. DO
(L)
CQ                                                                       SAFECO INSURANCE
                  11                                                    COMPANY OF AMERICA
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           -                                                            Insurance Company)
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                       4823-7631-4520.1                             9-
                                          NOTICE OF REMOVAL OF CIVIL ACTION TO THE DISTRICT COURT
Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 10 of 36 Page ID #:10




                              EXHIBIT A
Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 11 of 36 Page ID #:11

                                                                                                                                                      SUM-100
                                        SUMMONS                                                                           FOR COURT USB ONLY
                                                                                                                      (SOLO PARA USO DB LA OOPCTE)
                                  (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                            CONFORMED COPY
                                                                                                                      ORIGINAL FILED ,
SAFECO INSURNACE COMPANY and Does 1 Through 25, Inclusive                                                        Sup&rtor Court of Cafifomia
                                                                                                                   County of Los Angeles


YOU ARE BEING SUED BY PLAINTIFF:                                                                                      APR 22 2019
(LO ESTA DEMANDANDO el DEMANDANTE):                                                                     Sherri R. Carter, Executive Officer/Clerk ol Court
SHAHNAZNIKNAM
                                                                                                                 By: Wynette Parker, Deputy



 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 senred on the plaintiff. A letter or phone call will not protect you. Your vwitten response must be in proper legal form if you want the court to hear your
 case, There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center {wmi/.courtinfo.ca.goWselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may v/ant to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site {www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 {www.couriinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 /AVISOI Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea la informacidn a
 coniinuaciOn.
    Tiene 30 DIAS DE CALENDARIO despuds de que le entreguen esta citacidn y papeles iegales para presentar una respuesta por escrito en esta
 corte y /racer que se entregue una copia al demandanle. Una carta o una llamada telefOnica nolo protegen. Su respuesta por escrito tiene que estar
 en idrmato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formuiario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte ymds informacidn en el Centro de Ayuda de las Cortes de California fwww.sucorte.ca.gov;, en la
 biblioteca de leyes de su condado o en la corte que le quede mis cerca. Si no puede pagar la cucta de presentactdn, ptda al secretario de la corte
 que le de urt formuiario de exencidn de pago de cuotas. SI no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrd quitar su suetdo, dinero y b/enes sin mds advertencla.
    Hay otros requisitos Iegales. Es recomendable que llame a un abogacto Inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servidos legates gratuhos de on
 programs de servidos legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
  fwww.lawhelpcalifornia.org;, en el Centro de Ayuda de /as Cortes de Califomia, fvwvw.suoorte.ca.gov; o ponidndose en contacto con la corte o el
 coiegio de abogados locales. AVISO: Por ley, la corte tiene derecho a redamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquierrecuperadon de $10,000 6 mas de valor recibida mediante un acuerdo a una concesion de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                     CASI
(El nombre y direccion de la corte esl;
                              SUPERIOR COURT OF CALIFORNIA                                                  ^MMCV00764
                                                                                                         \{NQi

1725 Main Street, Santa Moninca, CA 90401

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el numero de telefona del abogado del demandants, o del demandante que no tiene abogado, es):
Shanaz Niknam,! 128 S Rexford Dr. #2,los angeles,CA 90035,T(310)210-8042 shaimaz.niknam26@gmail,com
                                                                                                                  0
DATE:
(Fecha)
                  APR 2 2 2019            Sherri R. Carter, Clerk             Clerk, by
                                                                                                 10.
                                                                                                                                                       , Deputy
                                                                                                                                                     . (Adjunto)
                                                                     (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para ptveba de entrega de esta citation use el formuiario Proof of Service of Summons, (POS-010)).
                                    NOTICE TO THE PERSON SERVED: You are served
                                    1. I t as an individual defendant
                                    2-a as the person sued under the fictitious name of (specify):


                                     3. n orr behalf of fspecr^;.'

                                         under: d] CCP 416.10 (corporation)                   |                  | CCP 416.60 (minor)
                                                I I CCP 416.20 (defunct corporation)          |                  | CCP 416.70 (conservatee)
                                                I I CCP 416.40 (association or partnership) |                    | CCP 416.90 (authorized person)
                                        ____ i      I other fspeerfy);
                                     4. I   I by personal delivery on (date):
                                                                                                                                                            Page 1 of 1
 Form Adapted for Msndstory Use                                                                                                 Code of Civ3 Procedure §§ 412.20,465
   Judidal Council of Csliromia
                                                                      SUMMONS
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 Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 12 of 36 Page ID #:12

 2'
      SHAHNAZNIKNAM
.3    1128 S. Rexford Dr. #2
      Los Angeles, CA 90035
 4    Tel: (310)210-8042
      shahnaz.niknain26@gmail.com                                                           APR 22 2013
 5    PLAINTIFF IN PROPER                                                        Stem R. Cajff, EwjlVe Ofer/ciai, ol Oouil

 6

 7
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                    COUNTY OF LOS ANGELES, SANTA MONICA COURTHOUSE

 9

10
      SHAHNAZNIKNAM                                        Case No.:
11
                    Plaintiffs,
                                                                               19SMCV00764
12                                                                     VERIFIED CIVIL COMPLAINT FOR
             vs,                                                      VIOLATION OF STATUTORY DUTIES
13    SAFECO INSURANCE COMPANY, and
                                                          1-    Violation of Califomia Business and Professions
14    Does 1 through 25, inclusive.                       Code 17200, Unlawful Competition Law, under
                    Defendants.                           UNLAWFUL prong, in the meaning of violation of §484
15                                                        (h) of Califomia Penal Code,

16                                                        2-   Violation of Califomia Business and Professions
                                                           Code 17200, Unlawful Competition Law, under
17                                                        FRAUDULENT prong, in the meaning of Civil Fraud

18

19
             PLAINTIFF SHAHNAZ NIKNAM MAKES THE FOLLOWING VERIFIED STATEMENS
20
      AND ALLEGARIONS SPECIFIED AS FOLLOWS:                           .
21
                        GENERAL ALLEGATIONS AND VERIFIED STATEMENTS
                              COMMON TO ALL CAUSES OF ACTION
22

23
      1-     ALLEGED The tme names and capacities, whether individual, corporate, associate, or otherwise,
24
      of Defendants, Does 1 through 25, inclusive, are unknown to Plaintiff, whom therefore sues said
25
      Defendants by fictitious names. Plaintiff is informed and believes, and therefore alleges, that each of the
26

27                                          Complaint for Violation of Statutoi^ Duties
                                                           04/20/2019
28                                                             1/10
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     Defendants designated herein as a DOE is legally responsible in some manner for the events and

     happenings herein referred to, and legally caused injury and damages proximately thereby to plaintiff as
 4
     herein alleged. Plaintiff is informed and believes that he is representative of a class of persons similarly
 5
     situated in the State of Califomia, who have been violated by the defendant SAFECO INSURANCE
 6
     COMPANY USA (defendant hereinafter) in the meaning of relying on the defendant’s implicit
 7
     representation that the defendants and each of them would fully comply with the sections of Califomia
 8
     Code, while the defendants and each of them neither intended nor did fully comply with sections of
 9
     Califomia Code. Accordingly, at some point the plaintiff will seek court’s permission to leave the court
10
     and amend this complaint to add those plaintiffs with similar interest as well as association of attorneys
11
     as it become necessary.
12
     2-     ALLEGED At all times herein mentioned, defendants, and each of them, were the agents and
13
     employees of each of the remaining defendants, and were at all times acting within the purpose and scope
14
     of said agency and employment, and each defendant has ratified and approved the acts of the agent.
15
     3-     VERIFIED Rule 3.1(a) (new) of Califomia rules of professional conduct states:
16
      Rule 3.1 Meritorious Claims and Contentions
17    (a) A lawyer shall not:
      (1) bring or continue an action, conduct a defense, assert a position in litisation, or take an appeal,
18
      without probable cause andfor the purpose of harassing or maliciously injuring any person; or
19    (2) present a claim or defense in litisation that is not warranted under existins law, unless it can be
      supported by a goodfaith argumentfor an extension, modification, or reversal of the existing law.
20

21
            VERIFIED Califomia Penal Code 118(a) states the following:
22
      Penal Code 118: (aj Every person who, having taken an oath that he or she will testify, declare, depose, or
23    certify truly before any competent tribunal officer, or person, in any of the cases in which the oath may by
      law of the State of Califomia be administered, willfully and contrary to the oath, states as true any material
24    matter which he or she knows to be false, and every person who testifies, declares, deposes, or certifies under
      penally of perjury in any of the cases in which the testimony, declarations, depositions, or certification is
25    permitted by law of the State of California under penally of perjury and willfully states as true any material
      matter which he or she knows to be false, is guilty ofperjury.
26

27                                          Complaint for Violation of Statutory Duties
                                                           04/20/2019
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 1


 2
     5-         VERIFIED Accordingly, verifying mutually exclusive statements constitutes commission of
 3
     peijury. In short, if someone does not have sufficient information to admit or deny some statement and
 4
     denies or admits that under penalty of perjury, either way commits perjury under PCI 18.
 5
     6-         VERIFIED Califomia Code of Civil Procedure 446(a) states the fnllnwing-
 6
      446. (a) Every pleading shall be subscribed by the party or his or her attorney. When the state, any county
 7
          thereof, city, school district, district, public agency, or public corporation, or any officer of the state, or of any
 8    county thereof, city, school district, district, public agency, or public corporation, in his or her official capacity,
          is plaintiff the answer shall be verified, unless an admission of the truth of the complaint might subject the party
 9
      to a criminal prosecution, or, unless a cotmty thereof, city, school district, district, public agency, or public
10    corporation, or an officer of the state, or of any county, city, school district, district, public agency, or public
      corporation, in his or her official capacity, is defendant. When the complaint is verified, the answer shall be
11
          verifiejd. In all cases of a verification of a pleading, the affidavit of the party shall state that the same is true of
12    his own knowledge, except as to the matters which are therein stated on his or her information or belief, and as
      to those matters that he or she believes it to be true; and where a pleading is verified, it shall be by the affidavit
13
          of a party, unless the parties are absent from the county where the attorney has his or her office, or from some
14    cause unable to verify it, or the facts are within the knowledge of his or her attorney or other person verifying
      the same.
15
          When the pleading is verified by the attorney, or any other person except one of the parties, he or she shall set
16    forth in the affidavit the reasons why it is not made by one of the parties.

17        When a corporation is a party, the verification may be made by any officer thereof. When the state, any county
          thereof, city, school district, district, public agency, or public corporation, or cm officer of the state, or of any
18    county thereof, city, school district, district, public agency, or public corporation, in his or her official capacity

19        is plaintiff, the complaint need not be verified; and if the state, any county thereof, city, school district, district,
      public agency, or public corporation, or an officer of such state, county, city, school district, district, public
20
          agency, or public corporation, in his or her official capacity is defendant, its or his or her answer need not be
21        verified.
          When the verification is made by the attorney for the reason that the parties are absent from the county where
22
          he or she has his or her office, or from some other cause are unable to verify it, or when the verification is made
23    on behalf of a corporation or public agency by any officer thereof, the attorney’s or officer’s affidavit shall state
          that he or she has read the pleading and that he or she is informed and believes the matters therein to be true
24
          and on that ground alleges that the matters stated therein are true. However, in those cases the pleadings shall
25        not otherwise be considered as an affidavit or declaration establishing thefacts therein alleged.

26

27                                                 Complaint for Violation of Statutory Duties
                                                                  04/20/2019
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 2
       A person verifying a pleading need not swear to the truth or his or her belief in the truth of the matters stated
 3
          therein but may, instead, assert the truth or his or her belief in the truth of those matters "under penalty of
 4    perjury."

 5
     7-        VERIFIED Califomia law, under California’s Penal Code 484(h) has criminalized charging a
 6
     person of other’s credit card without that person’s authorization, which state the following:
 7

 8    Penal Code 484(h):
      Every retailer or other person who, with intent to defraud:
 9
      (a) Furnishes money, goods, services or anything else of value upon presentation of an
10    access card obtained or retained in violation of Section 484e or an access card which he or
      she knows is a counterfeit access card or is forged, expired, or revoked, and who receives any
11    payment therefor, is guilty of theft. If the payment received by the retailer or other person for all
      money, goods, services, and other things of value furnished in violation of this section exceeds
12    nine hundred fifty dollars ($950) in any consecutive six-month period, then the same shall
      constitute grand theft.
13
      (b) Presents for payment a sales slip or other evidence of an access card transaction, and
14    receives payment therefor, without furnishing in the transaction money, goods, services, or
      anything else of value that is equal in value to the amount of the sales slip or other evidence of
15    an access card transaction, is guilty of theft. If the difference between the value of all money,
      goods, services, and anything else of value actually furnished and the payment or payments
16    received by the retailer or other person therefor upon presentation of a sates slip or other
      evidence of an access card transaction exceeds nine hundred fifty dollars ($950) in any
17    consecutive six-month period, then the same shall constitute grand theft.___________

18
     8-        VERIFIED On or about January 8*'’, 2019, the plaintiff noticed that the defendant had charged
19
     her credit card, on December 22"**, 2018. Plaintiff called the defendant and asked them to stop charging
20
     her credit card. (Exhibit A)
21
     9“        VERIFIED On or about Febmary 12*^, 2019 the plaintiff noticed that the defendant had charged
22
     her credit card on January 22"'’, 2019 again. Plaintiff called the defendant and asked the defendant to stop
23
     doing her credit card. (Exhibit B)
24

25

26

27
                                                Complaint for Violation of Statutory Duties
                                                               04/20/2019
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     10-    VERIFIED On or about March 13*, 2019 the plaintiff noticed that the defendant had charged her

     credit card on February 28*, 2019 again. Plaintiff called the defendant and asked the defendant to stop
 4
     charging her credit card. (Exhibit C)
 5
     11"    VERIFIED On March 13*, 2019 the plaintiff sent the attached letter and asked the defendant to
 6
     stop charging her credit card. (Exhibit D)
 7
     12-    VERIFIED Said charges was supposedly for insurance premium on a car that the plaintiff did not
 8
     anymore owned, as of January of 2019. (Exhibit E)
 9
     13-    VERIFIED Plaintiff had contacted the defendant via phone call and brought the matter to the
10
     attention of the defendant to no avail.
11
     14-    VERIFIED Defendant’s representatives promised to investigate the matter. Defendant and its
12
     representatives did not inform the plaintiff of the completion of their investigation, nor status of their
13
     investigation.
14
     15-    VERIFIED No report was provided to the plaintiff. But, the charges continued to appear on
15
     plaintiffs credit card.
16
     16-    VERIFIED The defendant knowingly and ■willfully continued charging the plaintiffs credit card.
17
     17-    VERIFIED Plaintiff had disputed the inaccurate information in the jurisdiction of this court.
18
     18-    VERIFIED At all times herein. Plaintiff, relied on the Defendant’s expertise and trusted the
19
     Defendant with his welfare, to put the plaintiff s (insured) interest ahead of the shareholders’ interest
20
     (Egan V. Mutual of Omaha).
21
     19-    VERIFIED As a result of the defendants’ violation of §484(h) of Califomia Penal Code, the
22
     plaintiff has sustained injuries as follows:
23
       I.   Deprived of funds,
24
      n.    Increased credit card debt.
25   III.   Humiliation and mental anguish due to being oppressed and not be able to reverse the course.

26

27                                             Complaint for Violation of Statutory Duties
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 1
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 2
     21-    VERIFIED The Business and Professions code 17200 is typically read in the disjunctive
 3
     subjecting any defendant to liability for activity violating any of its Three prongs:
 4
       (1) Unlawful,
 5
       (2) Unfair, and
 6
       (3) Fraudulent.
 7
     22-    VERIFIED Violation of §484(h) of Califomia penal code, is an unlawful act, meeting the
 8
     requisite element of “Unlawful” Prong under the California’s Business & Professions Code 17200.
 9
     23-    VERIFIED The requisite elements of civil fraud fSouth Tahoe Gas Co. v. Hofmann Land Impro\
10
     Co., 25 Cal.App.3d 750) are as follows:
11      (1) a false representation or concealment of a material fact (or, in some cases, an opinion) susceptible
        of knowledge,
12      (2) made with knowledge of its falsity or without sufficient knowledge on the subject to warrant a
        representation,
13      (3) with the intent to induce the person to whom it is made to act upon it; and such person must
        (4) act in reliance upon the representation
14      (5) to his damage.________________________

15
     24-    VERIFIED Defendant made the representation that they would not overcharge the plaintiff to
16
     convince the plaintiff to provide the defendant necessary information to enable the defendant to charge
17
     plaintiffs credit card. (Or, the defendant did not have sufficient information to make such a
18
     representation).
19
     25-    VERIFIED Plaintiff relied on the defendant’s representation and provided her credit card
20
     information to the defendant.
21
     26-     VERIFIED The defendant made the representation to the plaintiff to convince the plaintiff to
22
     provide credit card information.
23
     27-    VERIFIED At all times herein, Plaintiff, relied on the Defendant’s representation and trusted the
24
     Defendant with her welfare.
25
     28-    VERIFIED As a result of the overcharge by defendant the plaintiff has suffered financially.
26

27
                                           Complaint for Violation of Statutory Duties
                                                          04/20/2019
28                                                            6/10
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 2
     23-       VERIFIED Defendant had made false representation and/or representation without sufficient
 3
     knowledge to establish the representation, that fully comply with the laws of the State of Califomia, to
 4
     convince the people of California (plaintiff is a member of) to issue license to do business in Califomia.
 5
     People of the State of Califomia relied on the defendant’s representation and issued the defendant to do
 6
     business in Califomia. As a result of defendant’s overt-act of charging plaintiffs credit card, plaintiff has
 7
     suffered financially.
 8

 9

10                                            FIRST CAUSE OF ACTION

11                 VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE 17200,
           UNLAWFUL COMPETITION LAW, UNDER UNLAWFUL PRONG, IN THE MEANING
12
                             OF VIOLATION OF §484(h) OF CALIFORNIA PENAL CODE
13
                                              AGAINST ALL DEFENDANTS
14
     24-       Plaintiff refers to each and every paragraph of the general allegations and verified statements
15
     common to all causes of action and incorporates those paragraphs as set forth in full in this cause of
16
     action.
17

18
     25-       VERIFIED There did a exist mutual understanding that the Defendant would comply with the
19
     laws of the state of Califomia and tvill not steal money from the plaintiff by having necessary
20
     information to charge her credit card.
21

22

23
     26-       VERIFIED As a result of defendant’s violation of Penal Code §484(h), the plaintiff sustained
24   damages.

25

26

27                                            Complaint for Violation of Statutory Duties
                                                             04/20/2019
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 Case
 1
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 2
                                             SECOND CAUSE OF ACTION
 3
              VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE 17200, UNDER
 4                    FRAUDULENT PRONG, IN THE MEANING OF CIVIL FRAUD
                                 (AGAINST ALL DEFENDANTS)
 5
     27-       Plaintiff refers to each and every paragraph of the general allegations and verified statements
 6
     common to all causes of action First causes of action and incorporates those paragraphs as set forth in full
 7
     in this cause of action.
 8
     28-       VERIFIED There does exist a mutual understanding that the defendants and all of them would
 9
     treat the consumers fairly and do not mislead them to provide their credit card information, and then use
10
     that information to take money out of the consumers’ credit cards.
11
     29-       VERIFIED Defendants, and each of them, have breached their duty of fair dealing and good faith
12
     owed to plaintiff in the following respects:
13
           (a) Failure to stop charging the plaintiffs credit card, after notice over the phone. And, even after the
14
           plaintiff sent them a letter requesting that.
15
           (b) Willfully and in bad faith withholding accurate and complete data jfrom consumer as a result of
16
           which the consumer sustained injuries.
17
           (c) By falsely claiming that the balance and the charges were accurate at the time that they knew it
18
           was not the case.
19
           (d) By other acts or omissions of defendants.
20
     30-       VERIFIEDAs a further proximate result of the aforementioned wrongful conduct of defendants,
21
     plaintiff had suffered anxiety, worry, mental and emotional distress and other incidental damages.
22
     31-       ALLEGED Defendants have acted towards plaintiff with a conscious disregard of plaintiffs
23
     rights, or with the intent to vex, injure or annoy plaintiff, such as to constitute oppression, fraud or malice
24
     under Civil Code 3295, entitling plaintiff to punitive damages.
25

26

27                                              Complaint for Violation of Statutory Duties
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 2
     32-    Plaintiff believes in that WHATEVER COURT DEEMS APPROPRIATE would be a
 3
     reasonable amount of punitive damages under the circumstances.
 4

 5                WHEREFORE, Plaintiff prays for judgment against the defendants, as follows;

 6          1- Reimbursement of the charges to the credit card from the time the plaintiff did not have Safeco

 7   Insurance and had switched to Farmers.

 8          2- General damages for mental anguish and emotional distress and other incidental damages in

 9   the sum of $50,000.00;

10          3- Punitive and exemplary damages in the amount the court deems appropriate, and

11          4- For such other and further relief as the Court deems proper.
12
            5- Cost of this lawsuit.
13
            Respectfully Submitted,
14

15          Dated: April 20’*’, 2019
                                                              SHAHN^ NIKNAM,
16                                                                Plaintiff in Pro Per

17

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27                                        Complaint for Violation of Statutory Duties
                                                         04/20/2019
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 Case
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 2

 Do                                                  VERIFICATION
                                                        CCP §446
 4              STATE OF CALIFORNIA                   )
                COUNTY OF LOS ANGELES                 )
 5

 6           L SHAHNAZ NIKNAM, the undersigned, certify and declare that I have read the following

 7    complaint and know its contents.

 8              I am a party to this action. The matters stated in the document described above are tme of my own

 9    knowledge and belief except as those matters stated on information and belief, and as to those matters I

10    believe them to be tme.

11              I declare under penalty of perjury under the laws of the State of Califomia that the foregoing is

12    tme and correct.

13    Executed on; April 20'*’, 2019         At: Beverly Hills, Califomia

14

15    Signed:
                              SHAHNAZNIKNAM
16

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27                                            Complaint for Violation of Statutory Duties
                                                             04/20/2019
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                                 EXHIBIT




                                                                          21
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                Late Payment Warning: if we do not receive your minimum                       Activate new bonus categories evety quarter. You'il earn an
                payment by the date Ested above, you may have lo pay a laid fee of            addlionel     cash back, for a total ol 5% cash back on up to
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                      payment

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                Available Credit                                              S9.3&1
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                  ACCOUNT ACTIVITY

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                  01/16                   LATE FEE REVERSAL                                                                                       -27.00
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                  PURCHASE
                  12/20                   76 • DBA LEXINGTON ENTERP LOS ANGELES CA                                                                  9.99
                  12/22                   SAFECO INSURANCSCO eoo-332-3226 MA                                                                      342.72
                  12/24                   ATTCONS PHONE PMT 800-288-2020 TX                                                                        9233
                  12/25                   Netflix.com netflix.com CA                                                                                7.99
                  01/09                   SMART AND FINAL444 LOS ANGELES CA                                                                        12.98
                  01/10                   APL’ITL!NES.COlWBlLL 800-273-2273 CA                                                                        .99
                  01/11                   SUBWAY        00131531 LOS ANGELES CA                                                                     6.23
                  01/13                   TMOBILE’AUTO PAY 800-937-8S97 WA                                                                        119.25
                  01/12                   7-ElB/EN 25304 LOS ANGELES CA                                                                             876

                  FEES CHARGED
                  01/1S                   LATE FEE                                                                                                 27.00
                                                 total FEES     FOR THIS PERIOD                                                                   $27.00

                  INTEREST CHARGED
                  01/16                   PURCHASE INTEREST CHARGE                                                                                 16.98
                                              TOTAL INTEREST FOR THIS PERIOD                                                                      516.98


                                                                         2019 Totals Year-to-Dato
                                                         Total fees chained In 2019                           S27.00
                                                         Total interest charged In 2019                       S16.98
                                                         Year-to-date totals do not reflect any fee or Interest refunds
                                                                           you may have received.



                  INTEREST CHARGES
                  Your Annual Percentage Rate (APR) is the annual Interest rate on your account.
                                                                    Annual                               Balance
                  Balance Type                                     PercenUge                            Subject To         Interest
                                                                   Rate (APR)                          Interest Rate       Charges
                  PURCHASES
                    Purchases                                     2l.24%{vXd}                             S941.56           518.98
                  cash ADVANCES.
                    Cash Advances                                 27.24%(vXd)                               -0-                 '0-
                  BAUNCE TRANSFERS
                   Balance Transfer                               2l.24%{vXd)                               • 0-                -0-
                                                                                                                            31 Days in Billing Period
                  {V) s Variable Rate
                  (d) s DaUy Balance Method (Eluding ivm irarLaactcone)
                  (a) a Aver^ Daily Balance Method {irtpludlng new iraneacUo^ne)
                  Please seeln^onnalion About Your Account section for theCalculali^ of Balance Subject to Interest Rate. Annual Renewal Notioe, How lo
                  Avoid Htereslon Purchases, and other Important Ir^formalior^. as apfi^lcable.




                  IMPORTANT NEWS
                                                         Bat 5% cash back on up lo 3l .500 in combinad purchasea
                                                                  at Qaa Stadona, Tdla. and Drugalores
                                                                 between January 1 and March 31.2019.
                                                             Leam more and acUvate at chaae.com/lreedom or
                                                                 caB 1-800-534-3330 by March 14.2019.




                SHAHNAZ NIKNAM
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               CHASE G
                                                                                                                                                   Mobile: Oownioedtbe
                                                                  •WR ytfw.chasa.eoffi                                 1>S00>S24^S«0               Chase Mobile* spp loeny


                                                                 New Balence
                                                                                                     CHASE FREEDOM: ULTIMATE
                                                                 $1,203.41
                  S      M       T   W T F         S                                                 REWARDS® SUMMARY
                  24     2S £6       27 28     1       Z.:.-     Klinimom Paymani Cue                 Previous points balance                                    53.138
                 •5 ■    4 B          6 ■ 7 8  8•                $29.00                               4 1% (1 Ptysi earned on ail purohasee________________ 1.187
                  -fO;   11 12       1314 ,m 16,.                                                     + dibits moved from arather account                            60

                  17 18 • 19"        ZO 2i    22 ,23-
                                                                 Peymertl Due Date                    Total points available for
                  24     28 26.. 27 23        29 ^.
                                                                 03/15/19                             redemption                                           54,405
                                                                                                     Start rodooming today. Visit UlUmate HewardsiSfat
                  31.” 1     •2;     3   4 ' 5 ..6''
                                                                                                     vvww.uilunaiorowerds.ecm

                ijibB Payment Warning: It we do not receive your mirBmum                             You always earn unlimited 1% cash back on alS your purchaesa.
                payment by the date Rsted above, you may have 1o pay a late fee of
                                                                                                     Activate new bonus categories avsry quarter. You'll earn an
                    to 537.00.                                                                       additional 4% cash back, tor a total of 5% cash back on up to
                Minimum Payment Warning: If you make only the minimum                                $1,500 in combined bonus catego^ purchases each quarter.
                payment each pedod. you will pay more In Inlerest and It wIB lake                    AcUvale tor free at chaee.pom/ireedom, v>^ a Chase branch or
                you longer to pay off your balance. For example:                                     call the ngrribe.*- on the back o1 your card.
                    If you make no     You wDI pay off the And you wii; end up
                  additional charges batance shown on this paying an estimated
                 using this card and  statement in about...     total ol...
                each month you pay...
                  Only the minimum                 7 years                      S2.323
                      payment

                           S46                     3 years                    51.642
                                                                          (Savings=S631)

                If you would like i-iformation about cretfit eounaallrtg aen/icea. aall
                1-8S6-797-233S.

                ACCOUNT SUMMARY
                Account Number: 4268S414S187S315
                PieivioLta Balance                                                 SI.118.24
                Payment, Drodts                                                  ‘$1,11854
                Purchases                                                        +31,186.32
                Cash Advances                                                         ^.00
                BaianoeTransters                                                       So.oa
                Pees Charged                                                           SO.OC ,
                Inter^ Charged                                                       +517.09
                New Balance                                                        $1,20341
                Operwng/Cloeing tteid                                ■■oi/Ta'i9-D^iffi9'
                Credit Mceaa Ure                                                          S1D,500
                AveiTabte Credit                                                            S9.296
                Cash Aocoaa lirw                                                       ■ .52,100
                Available for Cash                                                          52,ICO
                : rtrt CiueAmoiJrrt                                   .................... '$0.00“
                  Balance ever the Credit Aeo^ Line                                     $0.00




                                                                    N z    IS    18-02 ie            P«9»1er2           06Si5   V4Am 4U63S      04»t000003MU«4«^1

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               CHASE O                                                    M2t>b54mtalfi?5515DDQOS‘1DDDD12O3mnOOaOO005
                         P.O BOk1Sl23
                  WILMINGTON, ws OE 19850*5123                   Get updates on the go               ^
                                                                                                      Payment Due Date:
                                                                                                         daIamaa*
                                                                                                                                                                D3/1Sn9
                    For Undalivorabie Mali Only                Lea on to chase.oeni/atefte           NBW oaianCO.                                             $1,203.41
                                                                                                      Minimum Payment:                                           $29.00
                                                                                                                 Account numban 4266 8414 6187 S81S

                                                                                                                                                          Amount Enclosed
                                 44032 SSX 2049:9 0                                                               MaXaVaH lo Cnass Card Services at liie address below;
                                 SHAHNAZ NIKNAM
                                 1128 REXFORD OR AFT 2
                                 LOS ANOELES Ca S0O3S-128S
                                                                                                                                CARDMBM8ER SERVICE
                                                                                                                                PO BOX 6294
                                                                                                                                CAROL STREAM IL 60197*6234




                                                   SOQQl&OEB                          203 ll,EilBTEai57


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                                                               Manogo yourwwwnl enlln«;                  CuKi«m«r Svrvtea:

               CHASE O ■
                                                                                                                                        MobU«: Dffrmioatfthe
                                                               wiw.cfiaafl com                           T8CO*52V3MO                    crias« Mo&<iQ*APP todiv




                 ACCOUNT ACTIVITY
                    Oatdof
                  Transaction                               Merchani NameorTrarteacUonOesor^iion                                               S Amount
                 PAywENTS AND OTHER CREDITS
                 02/14                   Payment Thank Ycu-Branch Check                                                                        -1,118.24

                 PURCHASE
                 01/15                   SQ 'GAREGIN MARKOSYAN N HOaYWOOD CA                                                                       18.54
                 01/21                   Y C 6LAT MEAT MARKET INC LOS ANGELES CA                                                                   27.65
                 01/22                   SAFECO INSURANCE CO 800-332*322e MA                                                                     410.47
                 01/23                   ATT'CONS phone PMT 800-2dS.2020TX                                                                         92.33
                 0:/25                   FARMERS INS BILLING 877-327-6S92 CA                                                                     380.96
                 OJ/25                   FARMERS INS BILLING 877«327.6392 CA                                                                       26.47
                 01/25                   T-MOBILE STORE # 4577 LOS ANGELES CA                                                                      47.63
                 01/26                   Netllix.com natllbtxom CA                                                                                  7.99
                 01/30                   FEDEXOFFICE 00059165 BEVERLY HILLS CA                                                                      5.13
                 02/04                   USPS PO 0S4549003S LOS ANGELES CA                                                                         27.35
                 02/04                   FEOEXOFFiCe 00C59165 BEVERLY HILLS CA                                                                       S7
                 02/05                   FEOEXOFFlCe OOOSS279 LOS ANGELES CA                                                                         .57
                 02/10                   APL'ITUNcS COM/BILL 6S6*712*77S3 CA                                                                          .99
                 02/10                   SPROUTS FARMERS MAR LOS ANGELES CA                                                                        20.42
                 02/13                   TMOBILE-AUTO PAY 500.937.8997 WA                                                                         119.25

                 INTEREST CHARGED            . _____ ..
                 02/18                   PURCHASE INTEREST CHARGE                                                                                 17.09
                                             TOTALINTERESTFORTHIS PERIOD                                                                         St7.09


                                                                         2019 T6tah Y6Ar-to>Date
                                                        Total fees charged fn 20ld                         S27.00
                                                        Iota] interest charged in 2019                     S34.07
                                                       Yeapls>date totals do not reflect any fee or fnterest refunds
                                                                        you may have received.



                 INTEREST CHARGES
                 Vour Annual Percentase Rate <APR) is the annual Interest rate on your ascounL
                                                                   Annual                             Balance
                 Balance Type                                     Percentage                         Subject To          Intereat
                                                                  Rata (APR)                        Inlereat Rata        Chargee
                 PURCHASES
                   Purchases                                    21.24‘Ji(v)(d)                         S947.48             SI 7.09
                 CASH ADVANCES
                   Cash Advances                                 27,24V.»(v)|d)                          •0-                 *0*
                 BAl^CETRANSFERS.................
                  Balance Transfer                               21.24%<v)(d)                            *0*                 •O*
                                                                                                                                   31 Days In Billing Period
                 (v) s Vahable Rate
                 (d) a Daily Balance Method OncIucftr>g new transactions}
                 {a) a Average Daily Balance Method Or>clud)ng new transaefione)
                 Please see Information About Your Account section for the Calculation of Balance Subject to Interest Rale. Annual Ranewai Notice. How to
                 Avoid Interest on Purchases, and other Imoortant Informadon, as applicable.




                  IMPORTANT NEWS
                                                        Oet S% cash back on up to $1.500 In confined purchases
                                                                 at Gas Stations. Tolls, end Drugstores
                                                                between January 1 and March 31. 2019.
                                                            Learn more and actvate at chasd.conYfceedom or
                                                                call 1'600>524-3ee0by March t4. 2019.




                SHAH NAZ NIKNAM
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                                                                                                    a      Cuetom«r S«rvlc«:                Oownbad

               CHASE O "                                         WWW chMa.e«am                             ved0*624-SS«0             Chase Mobte* app today


                                                           Nffiv Balance
                                                                                         CHASE FREEDOM; ULTIMATE
                  s M            W T   F S                 $1,009.16
                             T                                                           REWARDS® SUMMARY
                  31         2 ■3- •4  5                    MlnIcviuEn Payrrent Oue       Provlcus points b^ence                                   64.405
                  7-             10 11;12 13 ■                                            * 1% t1 ^y$1 earned on alt purdTaees
                         6   &                              $25.00                                                                                  1,010

                  14   m     1.6 17 18';
                                       19 20;-                                            Total points available for
                                                            Payment Ote Date
                  2i :   22     24 2s; 26 .87                                             redemption         '                               55,415
                  2B     2S 90. 1 XI 3 4^
                                                            04/15/19                     Start redeeming today, ^it LRtimate Rewards®at
                                                                                         www.ultimBte rewards,com
                   5 •   6 7~^ S .     10 11;;
                                                                                         You always earn unlimited 1% cash back on all your purchases.
                Late Paymenl Warning: tf we do not reo^ve yeur minimum                   Activate now bonus categories every quarter. You'll earn an
                payment by the date listed above, you may have to pay a late fee of      additional 4% cash back, for a tetal of SPn cash back on up to
                up to 539.00.                                                            SI .500 fn combined bonus category purchases each quarter.
                Minimum Payment Warning: Ifyoumekeonly the minimum                       Activate for froo at chase.com/freedom. visit a Chase branch or
                payment each period, you will pay more in Intarest and It will take      call ihe number on the back of your card.
                you longer to pay off your balance. For example:
                    if you make no    YOU v^ll pay off the And you will end up
                  additional charges halarca shown on this paying an estimated
                 using this card and stetemenl In about..       total of...
                each month you pay.,.
                  Only the minimym              6 years                 SI ,770
                      pavrr.ent

                          $39                   3 years                 S1,377
                                                                    (Saving&s$393)

                If you would like information about oreditccunsaling sen/lcas. ceM
                1-666-797-2965.

                ACCOUNT SUMMARY
                AccounINumber 4266 641461875615
                Previoua Balance                                            $1^.41
                Paymenl, Cred-ts                                           -$1,203.41
                Purchases                                                  +31,009.16
                CashAdvances                                                   SO.CO
                Balance Transfers                                              $0.00
                Fees .Charged                                                  SO.CO
                Interest Charged                                               sm.
                New Balance                                                 si,o«.ie
                O^nmg/do8lng Date........
                Credit Access Line                                           $10,500
                Available Credit
                Cash Accaae line                                              $2,100
                Available for Cash                                            $2,100
                 PaJrt'Dwr’Ainourit
                  Brdflrreeovef thoCradltAceeieeUae                            $IL00




                                                              N 2 1ft 1ft«0^8           PaB*lQf2            DM15    SAAMAAMlft     07710000C300CA»47501

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               CHASE O                                             MSbbfimm9ia?5fi^5QOQQ550GOOXD0^1bOQQQQODQQ

                        P.O. BOX 15123                                                    Payment Due Date:                                      04/1S/19
                  WILMINGTON, DB 19650-8123                 Get updates on the go
                   For Unda'iverable Mall Only            Logon tochaae.ftotn/«lerta      New Balance;                                          $1,009.16
                                                                                          Minimum Payment:                                         $26.00
                                                                                                     Account number: 4266 6414 6167 5615


                                                                                            $_                                                 Amount Enclosed
                                13475 esx:om«o                                                        Maka^Moil So Chase Card Services a> tna addiass betewt
                                SHAHNAZ NIKNAM
                                1128 BEXFORD OR AFT 2
                                LOS AN c cues CA 80O9&-1233
                                                                                                                   CARDMEMBER SERVICE
                                                                                                                   PO BOX 6294
                                                                                                                   CAROL STREAM IL 60197-6294




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                                                                                                           i.soc-s24-a&ao               Cha^e Mobfle* app today




                  ACCOUNT ACTIVITY
                    Date of
                  TransacUon                                Merchant NamaofTrarsaclEon Description                                             S Amount
                  PAYMENTS.^.D_pTHi^.CT^S^,^..............
                  03/14                  PaymentThankYou-Branch Check

                  PURCHASE
                  02/23                  ATPCONS PHONE PMr8OO-280*2O2OTX                                                                           91.46
                  02/22                  SAFECO INSURANCE CO 800-332*3226 MA                                                                      379.22
                  02/25                  FARMERS INS BILLING 877-327-6392 CA                                                                        13.44
                  02/25                  FARMERS INS SILLING 877-327-6392 CA                                                                      354.14
                  02/26                  Netflix.corr nettlx.ccm CA                                                                                  7.99
                  03/10                  APLTrUN£S.COIWBIU-&65-712-7753CA                                                                             .99
                  03/13                  TMOBILE'ALH'O PAY aci0-937-a997 WA                                                                       162.92
                  03/15                  99 CENTS ONLY STORES «361 LOS ANGELES CA                                                                    3.00


                                                                           2019 Totalo Year-t^Oete
                                                        Total fees chargeti In 2019                          S27.00
                                                        Total Intereal charged In 2019                       S34.07
                                                        Vear-to-date totals do not reflect any lee or Interest refunda
                                                                          you may have received.



                  INTEREST CHARGES
                  Your Anmial Percentage Rate (APR) Is the annual inleresi rate on ycur account,
                                                                   Annuel                              Balance
                  Balance Type                                    Percentago                          SubfectTo             interest
                                                                  Rata (APR)                         Interest Rete          Chargee

                  PURCHASES
                    Purchases                                    2l.24%(v)(d)                             • 0-                -0-
                  CASH ADYANpES
                   Cash Advances                                 2724%(v)(d)                              -0*                 -0-
                  BA^CE TRANSFERS.
                   Balance Transfer                              2l.24%(v)(d)                              .p.                -0-
                                                                                                                                28Daye:
                  (V) s VariaWo Rate
                  (d) s Daily Balance Method (including new transectonsj
                  (a) = Average Daily Balance Method (including new tranaacHons)
                  Please see InformatJon About Vour Account aeclon for the Calcufaljcn ol Baiance Subject to Interest Rate. Annuel Renewal Notice, How to
                  Avoid Interest orx Purchased, and other Important Irdcrmatien, as applicable.




                 SHAHNAZ NIKNAM              This Statement is 3 Fa63trfllt4 - Not                            Original              siaiememDaie; oa/ie/is
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                                   SHAHNAZ NIKNAM
                                         1128 S. Rexford Dr. #2
                                         Los Angeles, CA 90035
                                          Tel: (310) 210-8042

                                             03/13/2019

  Safeco Insurance Company;
  Imperial Insurance Agency,
  22938 Lyons Ave.
  Santa Clarita, CA 91321-2718


                  Re: Policy Number: A3114987
                  Account Number: 7202-3114987

  Dear Representative:

        Please accept my very best wishes and take notice that you have been taking money from
  my Chase Credit Card. Even though 1 had canceled this policy and had been insured with
  Farmers.

         Please refund whatever you have so far charged and refrain from taking any money.

         I thank you in advance for your anticipated courtesy and cooperation in resolving this
  dispute to prevent any potential lawsuit and wasting our time and money on litigation which
  could be avoided by simply working together.

         Please confirm in writing receipt of this notice.

  Best Regards,


  Shahnaz Niknam.




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                                 EXHIBIT




                                                                         32
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<® TOYOTA
FINANCIAL SERVICES


                                                                       Customer Service Center - Western
                                                                                          P.O. Box 15012
                                                                                Chondler.AZ 85224-5012
                                                                                          (800) 874-8822


      01/31/2019


      EDMOND E MOGHADAM
      1128 REXFORD DR APT 2
      LOS ANGELES, CA 90035-1233



       Vin 3YFBURHE0GP466805




      Thank you for contacting Toyota Lease Trust regarding your CA registration
      renewal notice. Per CA DMV, registration is being transferred to a new owner.
      Release of liability is in process. You are no longer responsible for outstanding
      registration fees that were assessed after the vehicle was returned. Per terms of
      your lease agreement, any registration fees and citations that occurred while
      you were in possession of this vehicle will remain your responsibility.

       Sincerely,




       Dalia SHOEMAKE / Authorized Agent




       Toyota Motor Credit Corporation, Lexus Financial Services, Toyota Lease
       Trust and Toyota Financial Services are one in the same.




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      Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 35 of 36 Page ID #:35
                                                                                                Reserved for Clerk's RIe S1attv>
                SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
                                                                                                          FILED
Santa Monica Courthouse                                                                        Sdp&ior Court of CaSfornia
1725 Main Street, Santa Monica, CA 90401                                                         Coufily of Los Angelos
                                                                                                     04/22/2019
                  NOTICE OF CASE ASSIGNMENT                                           Sherri R Carier, ExecuSve OEcor / QoA ofCoul
                                                                                                     Wynelle Parker                oeculv
                          UNLIMITED CIVIL CASE

                                                                                CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below. 19SMCV00764

                           TmS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

              ASSIGNED JUDGE                DEPT     ROOM                   ASSIGNED JTJDGE                      DEPT              ROOM
  ✓     Craig D. Karl an                   N




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 04/22/2019__________________                                      By Wvnette Parker____________________, Deputy Clerk
                 (Date)
LAGIV19a (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                                                                                            34
        Case 2:19-cv-04937-ODW-JEM Document 1 Filed 06/06/19 Page 36 of 36 Page ID #:36
                                  Instructions for           handling unlimited civil cases


The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all otlier Local Rules to the extent the otliers are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made ■within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TBVIE STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed,          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed witliin 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint, Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expen witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to die jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes, .




 LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06
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